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                                   Case No. 3:21-cv-01585-S

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS

In re: HIGHLAND CAPITAL MANAGEMENT, L.P.
                                Debtor,

THE CHARITABLE DAF FUND, L.P., and
CLO HOLDCO, LTD.,
                                Appellants
                     v.
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                Appellee

                       On Appeal from the United States Bankruptcy Court
                  for the Northern District of Texas, Case No. 19-34054-sgj11
                                   Hon. Stacey G. C. Jernigan

  APPELLEE’S MOTION TO DISMISS FOR FAILURE TO PROSECUTE

 PACHULSKI STANG ZIEHL & JONES                      HAYWARD PLLC
 LLP                                                Melissa S. Hayward
 Jeffrey N. Pomerantz (CA Bar No.143717)            Texas Bar No. 24044908
 John A. Morris (NY Bar No. 2405397)                MHayward@HaywardFirm.com
 Gregory V. Demo (NY Bar No. 5371992)               Zachery Z. Annable
 Jordan A. Kroop (NY Bar No. 2680882)               Texas Bar No. 24053075
 10100 Santa Monica Blvd., 13th Floor               ZAnnable@HaywardFirm.com
 Los Angeles, CA 90067                              10501 N. Central Expy, Ste. 106
 Telephone: (310) 277-6910                          Dallas, Texas 75231
 Facsimile: (310) 201-0760                          Tel: (972) 755-7100
                                                    Fax: (972) 755-7110

                                                    Counsel for Highland Capital
                                                    Management, L.P.




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          Highland Capital Management, L.P., the reorganized debtor in the above-

referenced bankruptcy case (“Highland”), hereby files this motion (the “Motion”)

for entry of an order, pursuant to Federal Rules of Bankruptcy Procedure 8003(a)(2)

and 8018(a)(4), dismissing this Appeal due to Appellants’ failure to prosecute. 1 In

support of its Motion, Highland states as follows:

                             PRELIMINARY STATEMENT2
          This Appeal should be dismissed for failure of prosecution.

          Appellants appeal the denial of their tardy Reconsideration Motion, which

sought to modify the Appointment Order—an order entered on July 16, 2020—that

appointed Seery as Highland’s chief executive officer and chief restructuring officer

and provided him with certain protections against frivolous litigation, including

exculpation and the Appointment Gatekeeper.

          On November 9, 2022, despite missing the First Deadline, this Court entered

its Second Stay Order pursuant to which (a) this Appeal remained abated and

administratively closed pending resolution of the Related Appeal, and (b) Appellants

were directed to file their opening brief “on or before 14 days after a final mandate

issues or the [Related Appeal] is otherwise resolved.”


1
 Highland reserves the right to make all substantive arguments that the Court should dismiss this
Appeal on grounds other than failure to prosecute, including on the ground that the Fifth Circuit
determined—after this Appeal was commenced—that the Appointment Order was a “final” order
not subject to collateral attack.
2
  Capitalized terms not otherwise defined in this Preliminary Statement have the meanings ascribed
to them below.


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          On June 26, 2024, the Bankruptcy Court approved a Final Stipulation that

“finally resolv[ed] all litigation” concerning the Related Appeal and was signed on

behalf of Appellants and their counsel (who were parties to the Related Appeal and

the Final Stipulation in their personal capacities). Consequently, pursuant to the

Second Stay Order, Appellants’ deadline for filing their opening brief in this Appeal

was July 10, 2024, more than six months ago.

          As they did with the First Deadline, Appellants missed the Second Deadline

and have never filed their opening brief or otherwise taken any steps to prosecute

this Appeal. There can be no credible claim of excusable neglect since Appellants

and their counsel were parties to the Final Stipulation that triggered the Second

Deadline. Therefore, the Appeal should be dismissed for lack of prosecution.

          The continued pendency of the Appeal is prejudicial to Highland and Seery

because it purports to create uncertainty regarding protections granted to him (and

for which he is indemnified by Highland) years ago without objection.

          Under the circumstances, the Court should exercise its discretion under

Federal Rules of Bankruptcy Procedure 8003(a)(2) and 8018(a)(4) and dismiss this

frivolous appeal for (again) missing this Court’s deadline and otherwise failing to

prosecute this Appeal.




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                                 FACTUAL OVERVIEW

A.        Background to the Appointment Order and This Appeal
          On July 16, 2020, the Bankruptcy Court entered an Order Approving Debtor’s

Motion under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention

of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and

Foreign Representative Nunc Pro Tunc to March 15, 2020 [Bankr. Docket No. 854]

(the “Appointment Order”), pursuant to which James P. Seery, Jr. (“Seery”), then a

court-appointed independent director of Highland, was also appointed Highland’s

chief executive officer and chief restructuring officer. The Appointment Order

contained an exculpation provision and a “gatekeeper” provision (the “Appointment

Gatekeeper”) requiring any party seeking to sue Seery to obtain the Bankruptcy

Court’s3 prior approval. Neither the Appellants nor any other party objected to the

underlying motion or appealed the Appointment Order.4

          On February 22, 2021, the Bankruptcy Court entered an Order Confirming

the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

(as Modified) and (ii) Granting Related Relief [Bankr. Docket No. 1943] (the



3
  “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District of
Texas, Dallas Division, which is overseeing Highland’s bankruptcy case.
4
  The exculpation and gatekeeper provisions in the Appointment Order are nearly identical to
provisions included in a January 2020 Bankruptcy Court order approving a corporate governance
settlement agreement among Highland, the Official Committee of Unsecured Creditors, and James
Dondero pursuant to which an independent board (including Seery) replaced Dondero as
Highland’s control party and estate fiduciary; likewise an order to which Appellants did not object.
See Bankr. Docket No. 339 ¶ 10 (the “Original Gatekeeper”).


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“Confirmation Order”), which confirmed the Fifth Amended Plan of Reorganization

of Highland Capital Management, L.P. (the “Plan”).5 The Plan included, among

other things, a separate “gatekeeper” provision (the “Plan Gatekeeper”).

          On April 27, 2021, Highland moved to hold Appellants and their law firm

(Sbaiti & Co., counsel to Appellants) in contempt of court for violating the

Gatekeeper Orders 6 [Bankr. Docket No. 2247] (the “Contempt Motion”).

          Appellants objected to the Contempt Motion and, with an appeal of the

Confirmation Order (the “Confirmation Appeal”) pending in the United States Court

of Appeals for the Fifth Circuit (the “Fifth Circuit”), moved to modify the

Appointment Order (the “Reconsideration Motion”), even though that Order became

“final” more than nine months earlier. In their Reconsideration Motion, Appellants

asserted that the Bankruptcy Court lacked jurisdiction to enter the Appointment

Order and otherwise sought to invalidate the Appointment Gatekeeper.

          On June 29, 2021, the Bankruptcy Court entered an order denying the

Reconsideration Motion [Bankr. Docket No. 2506] (the “Reconsideration Order”),

and Appellants appealed to this Court (the “Appeal”). 7



5
  The Plan became effective on August 11, 2021.
6
  The “Gatekeeper Orders” include, collectively, (a) the Original Gatekeeper, (b) the Appointment
Gatekeeper, and (c) the Plan Gatekeeper.
7
  Several weeks later, following an evidentiary hearing, the Bankruptcy Court entered an order
(the “Contempt Order”) granting the Contempt Motion. In re Highland Cap. Mgmt., L.P., 2021
Bankr. LEXIS 2074 (Bankr. N. D. Tex. Aug, 3, 2021). Appellants appealed to the District Court
(Case No. 3:21-cv-01974-X) and, after the District Court affirmed, to the Fifth Circuit (Case No.

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B.        The Stays, the Missed Deadlines, and the Failure to Prosecute

          On October 6, 2021, this Court (a) abated this Appeal pending the outcome of

the Confirmation Appeal, and (b) granted Appellants’ motion for an extension of

time, directing Appellants to file their opening merits brief “within 14 days of the

Fifth Circuit’s disposition” of the Confirmation Appeal (the “First Deadline”).

[Docket No. 19] (emphasis in original).

          On September 7, 2022, the Fifth Circuit decided the Confirmation Appeal.

Among other things, the Fifth Circuit determined that the Appointment Order (as

well as the Original Gatekeeper) was a “final” order not subject to collateral

attack:

          We lack jurisdiction to consider collateral attacks on final bankruptcy
          orders even when it concerns whether the court properly exercised
          jurisdiction or authority at the time. To the extent Appellants [different
          Dondero controlled entities] seek to roll back the protections in the
          bankruptcy court’s [Original Gatekeeper and Appointment Order]…,
          such a collateral attack is precluded. 8

          Based on that determination, Highland moved for summary affirmance of the

Reconsideration Order. [Docket No. 23]. Appellants opposed that motion [Docket

No. 24] and, on October 5, 2022, moved to “reopen” the Appeal and for the

establishment of a “briefing schedule,” [Docket No. 25]. Highland opposed



22-11036) (the appellate proceedings concerning the Contempt Order are collectively referred to
as the “Related Appeal”).
8
  NexPoint Advisors, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48
F.4th 419, 438 n.15 (5th Cir. 2022) (internal citations omitted).


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Appellants’ motion on the ground that, among others, Appellants missed the First

Deadline. On October 18, 2022, Appellants belatedly sought a retroactive extension

of the First Deadline. [Docket No. 29].

          On November 9, 2022, this Court entered an order [Docket No. 34] (the

“Second Stay Order”) (a) further abating this Appeal pending resolution of the

Related Appeal, and (b) directing Appellants to “file their opening brief on or before

14 days after a final mandate issues or the [Related Appeal] is otherwise resolved.”

(the “Second Deadline”).

          On April 26, 2024, the Fifth Circuit vacated the Contempt Order and

remanded to the Bankruptcy Court for further proceedings concerning the monetary

sanction to be awarded. The parties—including Appellants and their counsel—

thereafter entered a stipulation “fully and finally” resolving the Related Appeal (the

“Final Stipulation”). On June 26, 2024, the Bankruptcy Court entered an order

approving the Final Stipulation. [Bankr. Docket No. 4107].

          Since the Related Appeal was “fully and finally” resolved—with the

knowledge and consent of Appellants and their counsel—on June 26, 2024, the

Second Deadline was July 10, 2024, pursuant to the Second Stay Order.

          Despite the passage of the Second Deadline more than six months ago,

Appellants have failed to file their opening brief or take any other steps to prosecute

this Appeal as required by the Second Stay Order. Appellants’ failure to comply with



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the Second Deadline is inexcusable since (a) Appellants were parties to the Final

Stipulation and therefore indisputably had notice of the resolution of the Related

Appeal, and (b) had already missed the First Deadline.

          Moreover, as a result of the Fifth Circuit’s determination that the Appointment

Order was a “final” order not subject to collateral attack (a determination made after

this Appeal was commenced), Highland and Seery have been and continue to be

prejudiced by the pendency of this Appeal because it creates theoretical uncertainty

where none should exist given that the Appointment Order became final more than

four and a half years ago.

                                     CONCLUSION
          WHEREFORE, Highland respectfully requests that the Court (i) grant the

Motion, (ii) dismiss this Appeal for failure to prosecute, and (iii) grant such other

and further relief as the Court deems just and proper.




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January 15, 2025                       Respectfully submitted,

                                       PACHULSKI STANG ZIEHL & JONES LLP
                                       Jeffrey N. Pomerantz (CA Bar No. 143717)
                                       John A. Morris (NY Bar No. 2405397)
                                       Gregory V. Demo (NY Bar No. 5371992)
                                       Jordan A. Kroop (NY Bar No. 2680882)
                                       10100 Santa Monica Blvd., 13th Floor
                                       Los Angeles, CA 90067
                                       Telephone: (310) 277-6910
                                       Email: jpomerantz@pszjlaw.com
                                               jmorris@pszjlaw.com
                                               gdemo@pszjlaw.com
                                               jkroop@pszjlaw.com

                                       -and-

                                       HAYWARD PLLC

                                       /s/ Zachery Z. Annable
                                       Melissa S. Hayward (Texas Bar No. 24044908)
                                       Zachery Z. Annable (Texas Bar No. 24053075)
                                       10501 N. Central Expy, Ste. 106
                                       Dallas, Texas 75231
                                       Telephone: (972) 755-7100
                                       Email: MHayward@HaywardFirm.com
                                               ZAnnable@HaywardFirm.com

                                       Counsel for Highland Capital Management, L.P.




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                              CERTIFICATE OF COMPLIANCE

 1.    This document complies with the word limit of Fed. R. Bankr. P.
 8013(f)(3)(A) because, excluding the portions excluded by Fed. R. Bankr. P.
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 Word, typeface Times New Roman, 14-point type (12-point for footnotes).


                                               /s/ Zachery Z. Annable
                                               Zachery Z. Annable




                               CERTIFICATE OF SERVICE
        I hereby certify that, on January 15, 2025, a true and correct copy of the
 foregoing Motion was served electronically upon all parties registered to receive
 electronic notice in this case via the Court’s CM/ECF system.

                                               /s/ Zachery Z. Annable
                                               Zachery Z. Annable




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